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                            UNITES STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



TRACY PROCTOR,                                                  Civil No. 20-2472 (JRT/DTS)

              Plaintiff,
                                                               ORDER ON STIPULATION
vs.


UNUM LIFE INSURANCE COMPANY
OF AMERICA,

              Defendant.



       Robert J Leighton , Jr, NOLAN, THOMPSON, LEIGHTON & TATARYN, PLC,
       1011 1st Street South, Suite 410, Hopkins, MN 55343, for plaintiff.

       Terrance J Wagener, MESSERLI & KRAMER P.A., 1400 South Fifth Street,
       100 South Fifth Street, Minneapolis, MN 55402, for defendant.

       On January 3, 2022, the parties filed a Stipulation for Determination on the

Administrative Record as well as a proposed briefing schedule. (ECF No. #23-1) The

parties failed to separately file the Stipulation or a proposed Order.

       The parties have now filed their Stipulation of January 3, 2022, and have

completed their briefing in the above-entitled matter. Therefore, IT IS HEREBY

ORDERED that the Court will hear cross-motions on the administrative record pursuant

to Fed. R. Civ. Pro. 39(a)(1) and 52(a)(1) at a time to be determined by the Court.



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Dated: February 24, 2022
at Minneapolis, Minnesota                s/John R. Tunheim
                                         JOHN R. TUNHEIM
                                         Chief Judge
                                         United States District Court




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